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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

 UNITED STATES OF AMERICA                                                           PLAINTIFF

 vs.                                  CASE NO. 13-40021

 LAQUAN D. HAYNES                                                                 DEFENDANT

                                            ORDER

        BEFORE the Court is the Motion for Reconsideration filed herein by Ms. Teresa Bloodman.

 ECF No. 83. The Motion asks the Court to reconsider its imposition of sanctions by ordering Ms.

 Bloodman to pay $250.00 in attorney’s fees to the Government in this matter. This Motion to

 Reconsider has been referred to the undersigned for decision. Also before the Court are Ms.

 Bloodman’s Objections to Order Directing Payment of Costs. ECF No. 88.

 A. Background

        On January 31, 2014, the Court conducted a hearing regarding Ms. Bloodman’s Motion to

 Withdraw as counsel. ECF No. 47. During the ex parte portion of the hearing, Ms. Bloodman,

 without prompting from the Court, offered to return all discovery materials provided her to the

 United States Attorney’s Office if she were allowed to withdraw. The Court granted her Motion to

 Withdraw and orally directed Ms. Bloodman to return the discovery materials to the Government

 as soon as possible. The Court asked Ms. Bloodman if she had any “questions or concerns” about

 the procedure discussed. Ms. Bloodman replied “No your honor.”

        That same day, January 31, 2014, the Court entered an written order stating “Ms. Bloodman

 is directed to turn over to the United States Attorney’s Office any and all discovery material

 previously provided her by the Government.” ECF No. 49. This written Order was delivered


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 electronically to Ms. Bloodman on the day it was entered. Id.

        Twenty days elapsed, and at a hearing regarding appointment of new counsel for the

 Defendant, the Government informed the Court Ms. Bloodman had not yet returned any of the

 discovery material. On February 20, 2014, the Court entered a second order directing Ms. Bloodman

 to return all discovery materials no later than 12:00 p.m. February 27, 2014. ECF No. 51. This

 Order stated, in part, as follows:

        IT IS THEREFORE ORDERED Ms. Teresa Bloodman, former counsel for defendant
        in this matter shall turn over any and all discovery materials received by her from the
        Government in this matter to Government’s Counsel not later than 12:00 pm on
        Thursday February 27, 2014. Failure to comply with this Order may result in a Show
        Cause Order being entered and sanctions being imposed against counsel.

 (Emphasis in Original). Because Ms. Bloodman was no longer attorney of record, the Clerk’s office

 physically mailed a copy of this Order Ms. Bloodman.

        On March 3, 2014, the Court inquired of the Government regarding the status of the

 discovery being returned. Counsel for the Government indicated he had still received no discovery

 or other communication from Ms. Bloodman. The Court then entered its Show Cause Order. ECF

 No. 53. This Order set a hearing on March 7, 2014, to allow Ms. Bloodman an opportunity to show

 cause why she should not be sanctioned for her failure to comply with a Court Order. The following

 day Ms. Bloodman filed a response to the Show Cause Order, denying any knowledge of her

 obligation to return the discovery materials up to the time she received a copy of the Show Cause

 order by email from the Court on March 3, 2014. ECF No. 54, ¶¶ 2, 5 and 7. Ms Bloodman also

 stated she had mailed the discovery materials, “as of this date” [March 4, 2014] to the Government

 “via priority overnight mail.”

        On March 6, 2014, Ms. Bloodman filed her Motion for Reconsideration. ECF No. 63. In


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 this Motion for Reconsideration, Ms. Bloodman again stated she was “unaware of this [the two

 orders to return discovery materials] and any other orders entered by the court, until receiving an

 email from the courtroom deputy on May [sic] 3, 2014.” ECF No. 63, ¶ 3. She stated the delivery

 of the discovery material was delayed by the UPS but had been delivered to the U.S. Attorney’s

 office. ECF No. 63 ¶¶ 4-5. Ms. Bloodman also stated she was “unaware of a specific date for return

 of the materials but did not willfully refuse, fail, disregard, or otherwise discount any order she was

 aware of.” ECF No. 63 ¶ 6. The Court granted this Motion, in part, to allow Ms. Bloodman to retain

 counsel, and reset the Hearing on the Show Cause Order to March 17, 2014. ECF No. 65.

        On March 17, 2014, the Court held a Show Cause Hearing. ECF No. 82. At this hearing Ms.

 Bloodman, apologized to the Court stating: “First I would like to apologize to the Court for not

 returning discovery until March the sixth, 2014.” She admitted she was aware of her obligation to

 return the discovery material on January 31, 2014, the day she was allowed to withdraw as counsel

 stating: “When we were here on January 31st on the motion to withdraw, counsel [Ms. Bloodman]

 did advise the Court that she would return the discovery as soon as possible.” Ms. Bloodman went

 on to explain to the Court what happened to her after the January 31 show cause hearing that

 “effected my [Ms. Bloodman’s] ‘as soon as possible.’” She offered several reasons, including health

 problems, for her failure to comply. She summarized by saying: “That’s what caused me to not do

 the ‘as soon as possible’ was affected by as the court can see the pictures of how I looked and

 information in terms of dizziness and all that in those reports from the doctors.”

        Despite the Court advising her the Clerk had physically mailed the February 20 Order, Ms.

 Bloodman continued to maintain she never received that Order. She stated clearly she did not intend

 to convey in her responses to the Show Cause Order that she was unaware of her responsibilities in


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 this regard, indeed she admitted she was aware of the Court’s Order when she left the courtroom

 on January 31, 2014. The following soliloquy occurred between the Court and Ms. Bloodman on

 this issue:

         Court: So you knew on January 31 that you were supposed to return that material as
         quickly as possible is that correct?

         Ms. Bloodman: Oh that’s correct your honor, yes that’s correct.

         Court: So, my question is why in these two responses that you filed here in early
         March did you say that you didn’t know anything about your obligation until March
         3?

         Ms. Bloodman: Your Honor, I don’t think that is what I said, because if it read that
         way that’s not correct, because, what I was saying in my motion was that I was
         unaware of the February 20 Order or any orders entered after the 31st. Because I had
         been taken off of the ECF filing system. But I wasn’t . . . I’m only referencing the
         February 20th order.

         Court: Your response to the Show Cause Order, paragraph 5 says: ‘The undersigned,
         which is you, was unaware of or unmindful of her actual obligation to return the
         discovery as indicated in the Court’s order until the order was actually received.’
         That’s just not accurate. You were mindful of your obligation to return this
         discovery on January 31st when you left the courthouse.

         Ms. Bloodman: Oh yes, your honor, my meaning for that is only in relation to the
         February 20th Order for a specific date, that’s all. Yes I was aware on January 31st
         that I said I would return it as soon as possible.

         Court: Not only that but I ordered you to return that material as soon as possible on
         January 31st, you were aware of that?

         Ms. Bloodman: Yes your honor. I’m not denying that. I am only referencing the
         specific date, or at least that is what my intent was, just saying I wasn’t aware of the
         February 20th Order for the February 27th date.

         ...

         Court: What you are telling me now is when you said that [in written responses] you
         were referring to your obligation to return this material by that date certain of
         February 27.


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        Ms. Bloodman: Yes your honor, that’s all I was referencing, nothing else.

 Ms. Bloodman returned the discovery materials to the Government on or about March 6, 2014.

        Because she acknowledged she knew on January 31, 2014 of the obligation to return the

 discovery materials on January 31, her apology to the Court for any confusion, her statement she did

 not intend to disobey a court order, and her proffered medical excuses, the Court found her conduct

 not to be in bad faith. ECF No. 80. However, the Court determined Ms. Bloodman’s actions had

 caused Government’s Counsel to expend unnecessary time in this case, and Ordered her to pay the

 Government for efforts expended in resolving this matter, two hours of attorney time at the CJA

 hourly rate of $125.00 per hour, for a total of $250.00. Id.

 B. Instant Motion

        Ms. Bloodman now files a Motion for Reconsideration. ECF No. 83. In this Motion, Ms.

 Bloodman makes the following averments:

        4. In its written order of January 31, 2014, the Court apparently entered an order
        directing the undersigned to “turn over to the USA any and all discovery material
        previously provided her by the Government.”

        5. The undersigned [Ms. Bloodman] did not receive notification of Jan 31, 2014
        written Order, filed electronically, as the Court directed the Clerk of Court to remove
        the undersigned from the electronic filing system.

        6. Thereafter, the Court entered a subsequent written order on February 20, 2014
        directing that the discovery be “returned no later than 12:00 pm on Thursday,
        February 27, 2014”. (Doc. No 51) However, again, the undersigned did not receive
        a copy of this order as her name was still removed from ECF filings. Further, the
        undersigned did not receive a copy of the orders by mail as indicated by the Court.

        8. That the undersigned had no knowledge that the orders had been entered until
        receipt of an e-mail; from the Court's courtroom deputy on March 3, 2014; wherein
        she e-mailed 1) a copy of an Order entered Feb 20, 2014 and 2) a copy of an Order
        to Show Cause entered March 3, 2014.



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        12. On March 3, 2014, after becoming aware of the Orders entered by the Court, the
        undersigned promptly caused delivery of the subject discovery to the AUSA by
        depositing the same on the next morning with Federal Express priority overnight mail
        and the same was ultimately delivered on March 6, 2014 at 1:10 p.m., with the delay
        attributed to inclement weather.

        19. To sanction the undersigned for on the one hand failing to comply with an order
        that the undersigned had not received and on the other hand failing to provide
        discovery “as soon as possible” is tantamount to imposing obligation upon the
        undersigned to comply with an order that did not specify a particular time which was
        apparently indexed in the Court’s docket. For this Court to sanction the undersigned
        for not providing the discovery “as soon as possible”, especially when a written order
        did not exist containing the language “as soon as possible”, is vague and subject to
        different interpretations and can only be evaluated on a case by case basis considering
        the circumstances of the individual who is subject to the direction given by the court,
        but not entered as an Order. Even assuming that the Court is correct in its
        determination from its perspective that the discovery was not provided “as soon as
        possible”, the undersigned presented testimony and evidence indicating that under
        the circumstances that she faced, discovery was provided “as soon as possible”. A
        reasonable person can differ as to the meaning of “as soon as possible”, especially
        considering the circumstances surrounding compliance with such an order which is
        vague and non-specific.

 ECF No. 83 (Emphasis Added).

 C. Discussion

        As stated on March 17, 2014, the Court conducted a Show Cause Hearing. After hearing

 from Ms. Bloodman and taking her proffered reasons for her failure to comply with this Court’s

 Orders at face value, the Court found that while she had violated the prior Orders of the Court, she

 had not acted in bad faith. Particularly, Ms. Bloodman apologized and admitted to the Court she was

 aware of her obligations on January 31, 2014, but because of the proffered reasons had failed to

 comply with the Court’s Order of that same date. She also admitted she knew when she left the

 courtroom on January 31, 2014, she should return the discovery materials to the Government “as

 soon as possible.” She also admitted she failed to do so until she received the Show Cause Order



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 on March 3, 2014. She further stated she did not intend to state in her two responses to the Show

 Cause Order that she was unaware of the Order on January 31, 2014. She stated she in fact did know

 about the January 31, 2014 Order to return the discovery materials.

        Ms. Bloodman now files a Motion for Reconsideration. In this newest pleading she returns

 to her original position that she was entirely unaware of her obligation to return the discovery

 material as of January 31, 2014. She asserts she never received a copy of the Court’s January 31,

 2014 Order, never received a copy of the Court’s February 20, 2014 Order, and in fact was

 completely unaware of the Court prior verbal and written orders until March 3, 2014. These

 assertions are patently false. First, Ms. Bloodman was in Court and stated on the record on January

 31, 2014, “I will return all of the relevant files to the US Attorney’s Office . . .” if allowed to

 withdraw as counsel. Then in response to a question from the Court inquiring if she had any

 questions regarding her withdrawal as counsel or her obligations to return the discovery materials

 she responded “No, your honor.”

        Further, Ms. Bloodman also clearly received the written Order entered by this Court on

 January 31, 2014 directing her to return the discovery materials. An electronic delivery of this Order

 is shown to teresabloodman@yahoo.com on January 31, 2014 at 2:43 p.m. ECF No. 49. She also

 recieved a copy of the Court’s February 20, 2014 Order directing her to return the discovery

 materials by February 27. 2014. The Clerk of this Court physically mailed this Order to Ms.

 Bloodman at her last known mailing address. At the show cause hearing on March 17, 2014, Ms.

 Bloodman admitted her mailing address had not changed.

        She has now filed three separate pleadings, each stating she was wholly unaware of her Court

 Ordered obligations until March 3, 2014 at the earliest. She affirmatively stated in a pleading filed


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 with the Court on March 4, 2014:

          “the undersigned was not privy to such order [the January 31 and February 20
         Orders] as the same was not presented to her electronically or otherwise until an
         officer of the court forwarded the same via e-mail on March 3, 2014. . . That the
         undersigned was unaware of or unmindful of her actual obligation to return the
         discovery as indicated in the Court’s order until the order was actually received.”

 ECF No. 54. This statement, in a pleading filed by Ms. Bloodman with this Court, is not true.

         On March 6, 2014, Ms. Bloodman filed a second pleading making the following assertions:

         That since the time the undersigned was withdrawn as counsel, the undersigned was
         unaware of this and any other orders [the January 31 and February 20 Orders]
         entered by the court, until receiving an email from the courtroom deputy on May 3,
         2014. Based upon information from Docket No. 49, the Clerk of Court was directed
         to remove the undersigned’s name from electronic notification in this case. And
         therefore, the undersigned did not receive any further filings.

 ECF No. 63. This statement, made in a written pleading filed with the Court, is not true.

         Now, on March 28, 2014, Ms. Bloodman filed a third pleading with the Court regarding this

 matter again asserting she was unaware of the Court’s Orders until she received the show cause order

 on March 3, 2014. ECF No. 83. This statement is not true as shown above. All of these pleadings

 are shown to be false by the record in this case and by Ms. Bloodman’s own statements at the hearing

 on January 31, 2014 and again at the show cause hearing on March 17, 2014.

         On March 31, 2014, Ms. Bloodman filed a fourth pleading [Objections to Order Directing

 Payment of Costs Entered on March 18, 2014], again stating: “That the Court disregarded without

 justification the fact that the undersigned had no notice that any written orders were entered given

 that the Court mandated that she be removed from the list of those person able to participate in

 electronic filings related to this case and the Order to Show Cause.” ECF No. 88. This statement

 is also false as she clearly received the Court’s January 31 written order in addition to actually being



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 in court when the undersigned ruled from the bench.

        Finally, in what appears to be an effort to shift the blame for her own failings, Ms. Bloodman

 makes other allegations against both the Court, Government, or Defendant’s new counsel. In her

 Motion for Reconsideration, Ms. Bloodman makes the following averments directed at other parties

 or the Court itself regarding the discovery at issue in this case:

        10. Based upon information and belief, the Court did appoint CJA Mr. Henry who
        had not filed a motion for discovery and did not contact the undersigned in an effort
        to obtain the discovery.

        13. While the AUSA represented to the Court that approximately two (2) hours was
        spent regarding discussing or communications concerning his efforts to provide
        discovery to Mr. Todd, Mr. Todd at that time had not been substituted as counsel and
        would not have been otherwise entitled to any discovery. The order substituting Mr.
        Todd was entered after the discovery was returned to the USA’s office. Therefore,
        whether the AUSA spoke to Mr. Todd concerning the existing discovery or whether
        he could have provided discovery is irrelevant and immaterial to whether the
        undersigned should be sanctioned.

        16. That prior to the entry of the order permitting the undersigned to withdraw, the
        undersigned filed a motion to compel discovery (Docket No. 31) as the discovery
        provided consisted of roughly 17 pages of police report and FBI investigative sheets
        and 3 DVDs and because of the paucity of information, the discovery provided
        appeared to be in violation of the Pre-Trial Scheduling Order-Discovery and
        Inspection Order of the Court. (Docket No. 23)

        17. Even though the Motion to Compel (Docket No. 31) was filed and a request for
        a hearing was made, this Court did not enter an Order requiring the government to
        provide the information or to show cause why it had not been provided.

        19. To sanction the undersigned for on the one hand failing to comply with an order
        that the undersigned had not received and on the other hand failing to provide
        discovery “as soon as possible” is tantamount to imposing obligation upon the
        undersigned to comply with an order that did not specify a particular time which was
        apparently indexed in the Court’s docket. For this Court to sanction the undersigned
        for not providing the discovery “as soon as possible”, especially when a written order
        did not exist containing the language “as soon as possible”, is vague and subject to
        different interpretations and can only be evaluated on a case by case basis considering
        the circumstances of the individual who is subject to the direction given by the court,


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        but not entered as an Order. Even assuming that the Court is correct in its
        determination from its perspective that the discovery was not provided “as soon as
        possible”, the undersigned presented testimony and evidence indicating that under
        the circumstances that she faced, discovery was provided “as soon as possible”. A
        reasonable person can differ as to the meaning of “as soon as possible”, especially
        considering the circumstances surrounding compliance with such an order which is
        vague and non-specific.

 ECF No. 83 (Emphasis Added). As the foregoing shows, Ms. Bloodman, to this date, fails to

 acknowledge her own responsibility for complying with the Orders of this Court. Rather, she seeks

 to divert the Court’s attention to the conduct others or the Court itself in attempting to excuse her

 own false statements to the Court in this matter.

 D. Conclusion

        One of a lawyer’s highest obligations is to be truthful to the tribunal. The rules of

 professional conduct mandate that no lawyer shall “make a false statement of fact or law to a

 tribunal.” Rules of Prof. Conduct, Rule 3.3. Further, it is a violation of the Rules of Professional

 Conduct for a lawyer to “engage in conduct involving dishonesty, fraud, deceit or

 misrepresentation.” Rules of Prof. Conduct, Rule 8.4. In this case Ms. Bloodman, has continued

 to deny she was aware of her Court ordered obligations, despite her own representations to the

 contrary in at least two different hearings. She has been untruthful and dishonest with this Court.

 She has attempted to shift the blame for her own failings to the Government or to the Court itself.

 Despite her apology to the Court and her acknowledgment she was aware of her obligations on

 March 17, she has again denied any responsibility for failing to comply with those obligations. She

 has again filed a pleading which contains a statement known by her to be false.

        The Motion for Reconsideration filed herein by Ms. Teresa Bloodman (ECF No. 83) is

 DENIED. Her Objections to Order Directing Payment of Costs (ECF No. 88) are considered herein


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 and are OVERRULED. Ms. Bloodman is reminded of her obligation to pay $250.00 in attorney’s

 fees to the United States Attorney’s Office as previously ordered by the Court. Failure to comply

 with an Order of this Court may result in additional sanctions being imposed, including but not

 limited to a citation for Contempt of Court.

        DATED this 3rd day of April 2014.


                                                       /s/ Barry A. Bryant
                                                       HONORABLE BARRY A. BRYANT
                                                       U.S. MAGISTRATE JUDGE




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